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ATTACHMENT A
Defendant’s Acceptance

[ have read this Protective Order and carefully reviewed every part of it with my attorney.

1 am fully satisfied with the legal services provided by my attorney ‘n connection with this

) 5 , , 4
Protective Order and all matters relating to it. I fully understand this Protective Order an

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voluntarily agree to it. No threats have been made to me, nor am I under the influence of any v

that could impede my ability to understand this Protective Order fully.

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L— Doria l. MMe
flO Dea VICTORIA WHITE ?

Defendant
